Case 2:04-cv-02897-.]DB-dkv Document 26 Filed 05/23/05 Page 1 of 3 Page|-l|_§) 32
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IN THE UNITED STATES DISTRICT CoURT FOR TH.E,_. _
WESTERN DISTRJCT oF TENNESSEE ~ ='
MEMPHIS DIvIsIoN

 

PHIL HANNAH,

 

Plaintiff, No. 04-2897-BV
vs.

AMERICAN REPUBLIC INSURANCE
COMPANY,

Defendant.

 

ORDER GRANTING AMERICAN REPUBLIC INSURANCE COMPANY
LEAVE TO FILE ITS REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANT'S
MOTION FOR SUMMARY JUDGMENT

 

Bet`ore the Court is Defendant Arnerioan Republic Insurance Company's motion for leave
to tile its Reply to Plaintiff‘s Response to Defendant's Motion for Sumrnary Judginent to address
Plaintiff‘s contention that he entered into the Separation Agreement and Release under economic
duress. For the reasons stated in the Motion for Leave, the Coui‘t GRANTS Defendant'S Motion

for Leave to File a Reply Briefby May 27, 2005.

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Case 2:O4»cv-O2897-.]DB-dkv Document 26 Filed 05/23/05 Page 2 013 Page|D 33
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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing has been served by first class
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Knoxvine TN 37901 171 '1 1

dated this 101‘ 91 day ofMay, 2005.
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This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02897 Was distributed by faX, mail, or direct printing on
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